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Richard DuVall, Esq.
Attorneys for Eric Goldfine, as Trustee                                  HEARING DATE & TIME:
of the Eric Goldfine Self-Employed Retirement Plan and Trust             June 24, 2025 at 9:30 a.m.
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------x
                                                                       Chapter 11
 In re: 68 Burns New Holdings, Inc.                                    Case No. 24-45157-NHL


                                     Debtor.
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           MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
 RELIEF FROM AUTOMATIC STAY, CONVERSION OR DISMISSAL PURSUANT TO
            11 U.S.C. § 362(d)(2) and (d)(3), and/or 11 U.S.C. § 1112(b)


                                             INTRODUCTION

         This Memorandum of Law is submitted in support of the motion by movant, Eric Goldfine,

as Trustee of the Eric Goldfine Self-Employed Retirement Plan and Trust (“Movant” or “SERPT”)

pursuant to 11 U.S.C. §362(d) (2) and (3) for an order lifting the automatic stay to permit Movant

to continue to conclusion its mortgage foreclosure action pending in the Supreme Court of the

State of New York, Dutchess County, and/or pursuant to 11 U.S.C. § 1112(b) dismissing or

converting this case.

                                                ARGUMENT

         As set forth more fully herein, this is a single asset case wherein the Debtor has failed to

file its statutorily-required plan of reorganization within the strictly enforced 90-day time period.

For that reason alone, Movant is entitled to relief from the automatic stay under 11 U.S.C. § 362(d)




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(3). Furthermore, Debtor’s filing is a textbook example of a bad-faith filing and as such, should

be dismissed pursuant to 11 U.S.C. §1112(b), or the stay lifted for “cause” under Sec 362 (d)(2).

The facts are set forth in the pleadings and the accompanying Affirmation of Richard DuVall (the

“Duvall Aff.”) and exhibits and other Docket entries, and will not be reiterated here, except where

necessary to apply the pertinent facts to the controlling law.


    I.        The Debtor Failed to File Its Bankruptcy Plan Within the Statutorily-Required
              90 Days

         “Congress enacted 11 U.S.C. § 362(d)(3) in 1994 to fast-track single asset real estate cases.

Section 362(d)(3) compels debtors to act swiftly by obligating them to fulfill one of two mandates

by not later than the date that is 90 days after the petition date.” RYYZ, LLC, 490 B.R. 29, 33–

34 (Bankr. E.D.N.Y. 2013) (internal quotations omitted, emphasis added). And 11 U.S.C. § 362

(d)(3) means what it says: The debtor has 90 days in a single asset case to file a plan. The 90-day

time period in this case expired on or about March 10, 2025 and the Debtor has entirely failed to

file a bankruptcy plan. The Debtor has made no payments to Movant. In fact, as of March 10, the

Debtor had not even testified at a 341 Meeting. (Duvall Aff. ¶ 5-10.) In re RYYZ, LLC, 490 B.R.

29, U.S. Bankruptcy Court, E.D.N.Y (2013) is instructive here:

         [Section 11 U.S.C. §] (d)(3) is designed specifically for single asset real estate
         cases. These cases typically amount to little more than a contest between the debtor
         and secured lender over real property that is, or can be, the subject of a foreclosure
         action. As explained by one court, by enacting Section 362(d)(3) “Congress
         expressly attempted to avoid the usual delays experienced in Chapter 11 in single
         asset real estate cases, which historically have been filed to avoid a foreclosure
         and in the hope that the debtor can come up with some form of a miracle in order
         to formulate an acceptable plan.” NationsBank, N.A. v. LDN Corp. (In re LDN
         Corp.), 191 B.R. 320, 326 (Bankr.E.D.Va.1996).

In re RYYZ, LLC, 490 B.R. 29, 34 (Bankr. E.D.N.Y. 2013) (emphasis added); see also In re 231

Fourth Ave. Lyceum, LLC, 506 B.R. 196, 203 (Bankr. E.D.N.Y. 2014) (granting relief from




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automatic stay in single asset real estate case where “[n]o evidence [was] provided to show that

the Debtor [was] able to meet its obligations under the Plan.); In re East/Alexander Holdings, LLC

No. BR 22-20151-PRW, 2022 WL 1529730, at *5 (Bankr. W.D.N.Y. May 12, 2022) (granting relief

from automatic stay in single asset real estate case where debtor’s “business is ‘single asset real

estate,’ encumbered by a lien held by a single creditor with a substantial unsecured deficiency

claim . . .the Court can see no prospect for a successful reorganization within a reasonable time.”)

          Indeed, expediency is at the very core of 11 U.S.C. § 362(d)(3) and therefore, courts will

not enlarge the 90-day period absent a showing of good cause, and only when the relief sought is

filed before the 90-day period expires. Id., see also In re RYYZ, LLC at 34 (“[T]he statute carefully

circumscribes this relief by requiring the order to be entered before the 90-day period expires.”)

(emphasis in original). Here the Debtor has failed to satisfy either requirement for enlargement of

the 90-day period and thus cannot cure its failure to timely file its plan. The defect is fatal. As

such, Movant’s request for the automatic stay to be lifted should be granted.

          Debtor’s sham listing of an illusory apartment in Queens, which generates no expenses or

income and is at best a figment of Mr. Raviv’s imagination does not turn this single asset real estate

case into a small business case. (See DuVall Aff. pars. 13-17) Even the Amended Schedules denote

no value for this so-called asset, which Mr. Raviv testified is occupied by the complex’s

superintendent, generating neither income nor expense for its ostensible shareholder, the Debtor,

if the Amended Schedules and Mr. Raviv are to be believed.


    II.       Debtor’s Case is Filed in Bad Faith

          Even if the Court does not determine on this motion whether this is a single asset

case – and Movant respectfully submits that it is – this is a case filed in bad faith, providing

an independent basis for relief from the stay or dismissal.



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         The definition of a bad faith filing is well-established. See In re C–TC 9th Avenue

Partnership, 113 F.3d 1304, 1310 (2d Cir.1997) see also In re Shea and Gould, 214 B.R.

739, 744 (Bankr., S.D.N.Y. 1997). And as a matter of law, bad faith constitutes a basis for

dismissal, and constitutes “cause” to lift the stay. See, e.g. In re 300 Washington St. LLC,

528 B.R. 534, 550–51 (Bankr. E.D.N.Y. 2015). Although not enumerated in 11 U.S.C.

1112(b), the Court in In re C–TC set forth eight factors for courts to weigh when

determining whether a filing is in bad faith, as follows:

         (1) the debtor has only one asset;
         (2) the debtor has few unsecured creditors whose claims are small in relation to
             those of the secured creditors;
         (3) the debtor's one asset is the subject of a foreclosure action as a result of
             arrearages or default on the debt;
         (4) the debtor's financial condition is, in essence, a two - party dispute between the
             debtor and secured creditors which can be resolved in the pending state
             foreclosure action;
         (5) the timing of the debtor's filing evidences an intent to delay or frustrate the
             legitimate efforts of the debtor's secured creditors to enforce their rights;
         (6) the debtor has little or no cash flow;
         (7) the debtor can't meet current expenses including the payment of personal
             property and real estate taxes; and
         (8) the debtor has no employees.


In re C–TC 9th Ave. P'ship, 113 F.3d at 1311. Applying those factors to the facts of this

case demonstrates that it is a bad faith filing and thus must be dismissed. In fact, all of the

factors have been met here:

       1. The Debtor has only one asset. The notion that the valueless fictitious Apartment,
          with neither income nor expense, is an asset is absurd. (Duvall Aff. ¶13-17);
       2. The Debtor has few, if any, unsecured creditors
       3. The Debtor’s one asset was the subject of a foreclosure action as a result of
          default on the debt. In fact, there is already a Judgment of Foreclosure and Sale.
          (Duvall Aff. ¶19);



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       4. This is unequivocally a two-party dispute between Debtor and Movant (Duvall
          Aff. ¶21);
       5. The timing of the filing, two days before the Movant’s foreclosure sale, clearly
          evidences an intent to delay and frustrate Movant’s efforts to enforce its right as
          the Secured Creditor; moreover, the Debtor’s conduct during the almost 5 months
          of this case fortifies the conclusion that the debtor’s purpose is pure delay, and
          there is no real bankruptcy purpose at play in this case (Duvall Aff. ¶4-10);
       6. Mr. Raviv testified at the 341 meeting that the Debtor has no income currently,
          had no income in 2024 and only real estate taxes for expenses, and the Debtor
          has not paid its post- petition real estate taxes; (DuVall Aff. at 13)
       7. The Debtor cannot meet current expenses as evidenced by the fact that it has
          failed to pay real estate taxes since 2019 (Duvall Aff. ¶20); and
       8. The Debtor has no employees. (Id.)

         This is not a close call. Debtor’s case is a textbook bad faith filing, made solely to frustrate

Movant’s efforts.

                                           CONCLUSION

         For the reasons set forth above and in the accompanying Affirmation of Richard R. Duvall

Movant respectfully submits that the Motion should be granted and (1) the automatic stay should

be lifted, and/or (2) the case should be converted to Chapter 7 or dismissed as a bad faith filing.

Dated: May 5, 2025
       Poughkeepsie, New York

                                                 Eric Goldfine Self-Employed Retirement Plan
                                                 and Trust
                                                 By its Attorneys Mackey Butts & Whalen

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